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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                        ATTORNEY FEE APPLICATION COVER SHEET

  IN RE:                                          APPLICANT:
                                                  Cole, Schotz, Meisel,
  SHAPES/ARCH HOLDINGS L.L.C., et al.             Forman & Leonard, P.A.

  CASE NO.: 08-14631 (GMB)                        CLIENT: Official Committee of Unsecured
                                                  Creditors

  CHAPTER: 11                                     CASES FILED: March 16, 2008

               COMPLETION OF THIS FORM CONSTITUTES A CERTIFICATION
              UNDER PENALTY OF PERJURY. RETENTION ORDER ATTACHED.



                                                         /s/ Michael D. Sirota      5/14/08
                                                     MICHAEL D. SIROTA               Date

                                         SECTION I
                                       FEE SUMMARY

 First Monthly Fee Statement Covering the Period
 March 31, 2008 through April 30, 2008

 Total Previous Fees and Expenses Requested:                                             $0.00
 Total Fees and Expenses Allowed to Date:                                                $0.00
 Total Retainer (if applicable):                                                          N/A
 Total Holdback (if applicable):                                                          N/A
 Total Received by Applicant:                                                            $0.00



         Name of Professional           Year
               and Title               Admitted        Hours         Rate           Fee
  1.      Michael D. Sirota,            1986          117.20       $625.00        $73,250.00
          Member
  2.      Ilana Volkov,                  1991         125.80        450.00         56,610.00
          Member
  3.      Warren A. Usatine,             1995         112.40        450.00         50,580.00
          Member
  4.      Alan Rubin,                    1983          17.90        500.00           8,950.00
          Member



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      Name of Professional            Year
            and Title                Admitted        Hours     Rate             Fee
  5.   Sheryll S. Tahiri,             1999           92.80    325.00           30,160.00
       Associate
  6.   Felice R. Yudkin,               2005         108.30    240.00           25,992.00
       Associate
  7.   Neoma M. Ayala,                 2006           0.40    205.00              82.00
       Associate
  8.   Peter E. Lembesis,              2006           3.40    195.00             663.00
       Associate
  9.   Jessica Juste,                  2007           3.00    195.00             585.00
       Associate
  10.  Michael H. Tully,               2007           3.80    200.00             760.00
       Associate
  11.  Daniel S. Zavodnick,            2007          14.40    195.00            2,808.00
       Associate
  12.  Cynthia Braden,                 N/A           54.00    165.00            8,910.00
       Paralegal
       TOTALS                                       653.40                $259,350.00

 FEE TOTALS (Page 3)                                                          $259,350.00
 DISBURSEMENTS TOTALS (Page 4)                                                 $11,772.40
 TOTAL FEE APPLICATION                                                        $271,122.40




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                                  SECTION II
                              SUMMARY OF SERVICES

                       Services Rendered                     Hours             Fee
  (a) Telephone Calls                                          29.70          $14,939.50
  (b) Correspondence Drafted                                   75.40           30,030.00
  (c) Correspondence Reviewed                                 105.50           44,465.00
  (d) Legal Research                                           36.00            9,792.00
  (e) Court Appearance                                          3.20            1,877.50
  (f) Preparation of Pleadings and Briefs                     134.20           48,103.50
  (g) Internal Office Meetings:
      (1)   solely w/applicant’s staff                         20.20         7,771.00
      (2)   third party conferences                            47.70        20,305.50
  (h) Out of Office Meetings                                   23.00        13,237.50
  (i) Review of File                                            3.60           594.00
  (j) Travel Time                                              30.00        14,355.00
  (k) Prepare for Court Appearance                             50.80        23,902.50
  (l) Prepare for Deposition                                   53.20        17,630.50
  (m) Review Documents Produced by Adversary                   40.90        12,346.50
  SERVICES TOTALS                                             653.40      $259,350.00




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                                  SECTION III
                            SUMMARY OF DISBURSEMENTS

  Disbursements                                                               Amount
  (a) Telephone                                                                $415.80
  (b) Photocopying:
         No. of Pages: 13,583 Rate per Page: $.20                               2,716.60
  (c) Travel (attach details - U.S. Govt. Rate)
         Miles/Tolls                                            176.88
         Public Transportation                                  195.00
         Rail                                                   230.00           601.88
  (d) Postage                                                                     84.80
  (e) Other (explain):
         Copy of Official Documents                             371.76
         Service of Process/Subpoena                            230.00
         Transcript of Testimony                                135.60
         Westlaw                                              7,215.96          7,953.32
  DISBURSEMENT TOTAL                                                          $11,772.40




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                                            SECTION IV
                                           CASE HISTORY

 (NOTE: Items (3) through (6) are not applicable to applications under 11 U.S.C. § 506)

 (1)      Date cases filed: March 16, 2008

 (2)      Chapter under which cases commenced: Chapter 11

 (3)      Date of retention: Order signed April 25, 2008, effective March 31, 2008
          (Annex copy of order(s).) See Exhibit A.
          If limit on number of hours or other limitations to retention, set forth: N/A

 (4)      Summarize in brief the benefits to the estate and attach supplements as needed:

          (a)      Attended numerous meetings and telephone conferences with Committee
                   members/co-counsel and financial advisors, Debtors’ counsel, Arch Acquisition I,
                   LLC and its counsel and other parties regarding the cases, the Debtors’ motion to
                   obtain post-petition financing and plan of reorganization;

          (b)      Attended Section 341(a) meeting of creditors;

          (c)      Worked with co-counsel to draft and/or review and revise and ultimately finalize
                   for filing with the Court motions for entry of orders (i) regarding disclosure of
                   confidential information; (ii) granting the Committee derivative standing to
                   commence action against the Debtors’ officers and directors and others for breach
                   of fiduciary duty; (iii) appointing a chapter 11 trustee; and (iii) terminating
                   exclusivity;

          (d)      Reviewed Debtors’ pre-petition loan documents with The CIT Group/Business
                   Credit, Inc., as agent for itself and for JP Morgan Chase Bank, N.A. and Textron
                   Financial Corporation (“CIT”);

          (e)      Reviewed, revised and/or negotiated the Debtors’ post-petition financing facilities
                   with CIT, Arcus ASI Funding, LLC and Arcus ASI, Inc. (jointly, “Arcus”) and
                   Arch Acquisition I, LLC (“Arch”);

          (f)      Reviewed the Debtors’ initial and amended Disclosure Statements and Plans of
                   Reorganization and numerous objections thereto;

          (g)      Reviewed Arch’s proposed plan of reorganization;

          (h)      Reviewed and worked with co-counsel to prepare and finalize objections to the
                   Debtors’ (i) motion for entry of a Final Order authorizing them to obtain post-
                   petition financing from Arcus (the “DIP Financing Motion”) and (ii) Disclosure
                   Statement;

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          (i)      Conducted legal research in connection with the Debtors’ various motions and the
                   Committee’s objections;

          (j)      Prepared subpoenas issued to the Debtors and Arcus and reviewed voluminous
                   documents produced by said parties in response to the subpoenas;

          (k)      Prepared for and conducted depositions of Steven Grabell, Vincent Colistra and
                   Paul Halpern in connection with the hearing on the DIP Financing Motion;

          (l)      Prepared for and attend hearings on the Debtors’ DIP Financing Motion and
                   adequacy of the Debtors’ Disclosure Statement;

          (m)      Prepared motions (i) to quash subpoena issued by Arcus and (ii) for stay pending
                   appeal with respect to DIP Financing Motion; and

          (n)      Prepared complaint against the Debtors’ officers and directors and others for
                   breach of fiduciary duty.

          INVOICES ITEMIZING SERVICES RENDERED AND OUT-OF-POCKET
          EXPENSES INCURRED ARE ATTACHED AS EXHIBITS “B” AND “C”,
          RESPECTIVELY.

 (5)      Anticipated distribution to creditors:

          (a)      Administration expense: Per Plan

          (b)      Secured creditors: Per Plan

          (c)      Priority creditors: Per Plan

          (d)      General unsecured creditors: Per Plan

 (6)      Final disposition of cases and percentage of dividend paid to creditors (if applicable):
          The Debtors have filed an Amended Plan of Reorganization and Disclosure Statement
          with Arch as the “stalking horse” plan proponent, as well as a competitive process motion
          which is returnable on May 19, 2008. Therefore, the final dividend percentages are
          unknown at this time.




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